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                            UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


DOLLY E. FEREBEE,                                 Civil Action No. 22-1155-KBH

             Plaintiff,

      v.,

NYCOLE MACKLIN, et al.,

             Defendants.



                                        Order

             The court grant’s Dolly Ferebee’s motion to file a sur-reply brief in

opposition to the City of Philadelphia’s motion to dismiss count II of plaintiff's

third amended complaint. The Clerk’s office is directed to docket plaintiff’s sur-

reply brief that is attached to plaintiff’s motion as Exhibit “A.”




                                      BY THE COURT:
                                       /s/ Hon. Kelley B. Hodge
                                      ______________________
                                      KELLEY B. HODGE, J.
                                      Dated: January 16, 2024




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